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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division
                                                                             r      SEP 2 8 2018

                                                                                WLtwn, U.S. DISTRICT COURT
                                                                                      RICHMOND. VA
UNITED STATES OF AMERICA


                                                      Criminal No. 3:16CR04-HEH


JAEVON HIGGS,

       Petitioner.


                               MEMORANDUM OPINION
                           (Denying 28 U.S.C.§ 2255 Motion)

       Jaevon Higgs, a federal inmate proceeding pro se, submitted this motion under 28

U.S.C. § 2255 to vacate, set aside, or correct his sentence ("§ 2255 Motion," ECF

No. 45).' Higgs demands relief because:
        Claim One:           Higgs's "sentence is procedurally unreasonable in light of
                             [Dean v. United States, 137 S. Ct. 1170 (2017)] and requires
                             the sentence to be vacated." (§ 2255 Mot. 3; Mem. Supp.
                             § 2255 Mot. 4, ECF No. 46.)

        Claim Two:           "The sentence must be vacated to remove the 2-level
                             enhancement" (§ 2255 Mot. 4), under Dean "because it is
                             double-counting."(Mem. Supp. § 2255 Mot. 4).

        Claim Three:         "In light of[Johnson v. United States, 135 S. Ct. 2551 (2015)]
                             . . . [his] § 924(c) conviction must be vacated." (§ 2255
                             Mot. 5; Mem. Supp. § 2255 Mot. 5.)

        Claim Four:          "Counsel[] was ineffective for failing to raise these issues and
                             also failing to appeal seeing that the [§] 924(c) issue was still
                             in conflict among the circuits." (§ 2255 Mot. 6.)




 The Court employs the pagination assigned to Higgs's submissions by the CM/ECF docketing
system. The Court corrects the capitalization and punctuation in the quotations from Higgs's
submissions.
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